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                                          Statement of Facts
       Your affiant,                      , is a Special Agent by the Federal Bureau of Investigation
(FBI) and have been since September of 2022. Currently, I am assigned to the Seattle Field Office,
where I am tasked with investigating domestic terrorism. As a Special Agent, I am authorized by
law or by a government agency to engage in or supervise the prevention, detention, investigation,
or prosecution of a violation of Federal criminal laws.
                  Background: Events at the U.S. Capitol on January 6, 2021
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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                          Facts Specific to Matthew Lawrence Stickney
        As set out in more detail below, based on my review of United States Capitol Police
(“USCP”) surveillance and Metropolitan Police Department (“MPD”) body-worn camera footage,
I have observed Matthew Lawrence Stickney among a large group of rioters who committed illegal
acts on the ground of the U.S. Capitol as part of the January 6, 2021 riots there. Specifically, he
illegally entered the U.S. Capitol grounds and building despite clearly marked signage and
numerous other indicators that the area was closed to the public.
       A. Identification of Stickney
       According to records obtained through search warrants served on Google LLC, two mobile
devices (“Device 1” and “Device 2”), both associated with the email
mattXXXstickney@gmail.com, were present at the U.S. Capitol on January 6, 2021. Device 1
corresponds to a Google account (“Google Account 1”) for which the email is
mattXXXstickney@gmail.com, the name is Matthew Lawrence, the recovery SMS number is the
2065 number, and the recovery email is mstXXXXkny@gmail.com. Device 2 corresponds to
another Google account (“Google Account 2”) for which the email is
mstickney.XXX@gmail.com, the name is Matt Stickney, the recovery SMS number begins with
area code 206 ending in 4145 (the “4145 number”), and the recovery email
mattXXXstickney@gmail.com.
       Google estimates device location using sources including GPS data and information about
nearby Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy,
depending on the source(s) of the data. As a result, Google assigns a “maps display radius” for
each location data point. Thus, where Google estimates that its location data is accurate to within
10 meters, Google assigns a “maps display radius” of 10 meters to the location data point. Finally,
Google reports that is “maps display radius” reflects the actual location of the covered device
approximately 68% of the time.
         In this case, Google location data shows that Device 1 and Device 2 were present at the
locations illustrated in Image 1 and Image 2, below. Device 1 and Device 2 were within the U.S.
Capitol Grounds at locations reflected by each darker blue circle in Image 1 and Image 2, with the
“maps display radius” reflected by each lighter blue ring around each darker blue circle. As
illustrated in Image 1 and Image 2, the listed locations encompass areas that are at least partially
within the U.S. Capitol Building between approximately 2:29:19 p.m. and 4:04:54 p.m. on January
6, 2021. In addition, as illustrated in Image 1 and Image 2, the listed locations were entirely within
areas of the U.S. Capitol Grounds which were restricted on January 6, 2021.
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          Image 1 – Location of Device 1 on January 6, 2021




          Image 2 – Location of Device 2 on January 6, 2021
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       Pursuant to a grand jury subpoena to Google LLC served on October 19, 2021, the
Google voice number associated with Account 1 forwarded to the 2065 number. The Google
voice greeting associated with that account says “Matt Stickney.”
       Pursuant to a grand jury subpoena to Verizon Wireless served on June 21, 2021, the
account related to 4145 number was subscribed to by an individual other than Stickney, with a
business name of “Alexandria Real Estate” in Pasadena, CA. “Matt Stickney” was listed as the
“contact” name, at an address in Seattle, WA (the “Seattle Address”).
        The Seattle Address is listed on the website for Alexandria Real Estate Equities. On his
publicly available LinkedIn page, Matthew Stickney of Mountlake Terrace, Washington
indicates that he was a Maintenance Technician at Alexandria Real Estate Equities, Inc. from
August 2020-July 2022. The LinkedIn profile photo appears to match Matthew Lawrence
Stickney’s Washington driver’s license photo and the images from the U.S. Capitol on January 6,
2021.




                               Image 3 – Stickney’s LinkedIn Photo
        In June 2021, the FBI identified a video originally posted to a user’s Instagram story
depicting a person resembling Stickney inside the Capitol. The FBI contacted a personal associate
of Stickney (“Witness 1”) and showed Witness 1 Image 4, below. Witness 1 pointed out Stickney
as the individual depicted in the yellow circle below. In particular, Witness 1 stated that since the
photo was not great, Witness 1 could not know for sure, but said that the person certainly looked
like Stickney.
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                           Image 4 – Instagram Story Depicting Stickney
       B. Stickney’s Conduct on January 6, 2021
       Based on my review of USCP surveillance and body-worn camera footage from January
6, 2021, I have learned that, on that day, Stickney was wearing a black jacket with a gray hooded
sweatshirt underneath, a black backpack, and dark pants, as depicted below.




                   Image 5 – Stickney in the U.S. Capitol on January 6, 2021
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       USCP surveillance footage shows Stickney entering the U.S. Capitol building through the
Parliamentarian Door at approximately 2:45:09 p.m. Stickney puts his hands to his mouth and
shouts something down the hall as he enters room S131 shortly thereafter, at 2:45:17 p.m.




                       Image 6 – Stickney Yelling Inside the U.S. Capitol
       Following this, Stickney exits S131 at 2:48:17 p.m., briefly turns around to go look into
S131 at 2:48:22 p.m., and then turns back around. Stickney exits the camera's view,
proceeding down the hall to the north, further into the U.S. Capitol Building, at 2:49:12 p.m.
        Stickney is visible in that hallway again, on both USCP surveillance footage and MPD
body-worn camera, at 3:00:56 p.m. His gray hood is pulled down, he is carrying an American
flag, and being directed towards the Parliamentarian Door by police.




      Image 7 – Stickney Carrying American Flag Inside U.S. Capitol on January 6, 2021
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At 3:01:42 p.m. Stickney leans the flag against the door of the Parliamentarian's Office (S132)
and leaves it there before continuing to exit the Capitol. He pulls his gray hood back over his
head and exits the U.S. Capitol at 3:01:51 p.m.




                 Images 8 & 9 – Stickney Inside the U.S. Capitol on January 6, 2021
       According to records obtained through the follow-up search warrant served on Google
LLC, the Google account associated with the email address mattXXXstickney@gmail.com,
belonging to Matthew Lawrence Stickney – Google Account 1 – made a number of internet
search queries and views relevant to Stickney’s planning, travel, and participation in the events at
the U.S. Capitol on January 6, 2021 in Washington D.C. These occurred both before and after
that date. (The following does not represent the entirety of Stickney’s search history.):
Searched for hilton garden inn washington dc/u.s. capitol 1
Dec 24, 2020, 5:46:41 PM UTC
Viewed Hilton Garden Inn Washington DC/U.S. Capitol 2
Dec 24, 2020, 5:46:41 PM UTC
Searched for hotels in washington
Dec 24, 2020, 5:46:30 PM UTC
Searched for how do i take my gun with me on a flight
Dec 24, 2020, 8:09:20 PM UTC
Searched for is weed legal in d.c.
Dec 28, 2020, 5:04:52 AM UTC



1
  In the context of this search history, if Stickney “searched for” X, it means that an individual
logged in to the mattXXXstickney@gmail.com completed a Google internet search query for the
term in question.
2
  In the context of this search history, if Stickney “viewed” X, it means an individual logged in to
the mattXXXstickney@gmail.com visited the named website.
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Viewed AC Hotel by Marriott Washington DC Downtown
Jan 3, 2021, 2:24:01 AM UTC
Searched for can i bring a gas mask on a plane
Jan 4, 2021, 4:06:24 AM UTC
Searched for can i bring walkie talkies on a plane
Jan 4, 2021, 4:06:16 AM UTC
Searched for can i carry a knife on a plane
Jan 4, 2021, 5:32:37 AM UTC
Searched for boy that escalated quickly 3
Jan 6, 2021, 9:12:36 PM UTC
Searched for hands burning from pepper spray
Jan 7, 2021, 3:12:56 AM UTC
Searched for hd security cameras
Jan 7, 2021, 6:29:33 PM UTC
Searched for cs gas
Jan 9, 2021, 12:18:46 AM UTC
Searched for us capitol
Jan 10, 2021, 9:15:54 AM UTC
        Pursuant to a grand jury subpoena to Delta Airlines, Matthew Stickney associated with
the email address mattXXXstickney@gmail.com and the 2065 number was listed as a passenger
on flights that would have put him in the Washington D.C. Metro area on January 6, 2021. He
purchased these trips on December 24, 2020. Specifically, he was listed as a passenger on the
following flights:
    -   Delta flight number 356, departing from Seattle-Tacoma International Airport (SEA) at
        11:30 p.m. on January 4, 2021, arriving at Atlanta Hartsfield Jackson International
        Airport (ATL) at 6:57 a.m. on January 5, 2021.
    -   Delta flight number 1411, departing from ATL at 8:05 a.m. on January 5, 2021, arriving
        at Baltimore-Washington International Airport (BWI) at 9:46 a.m. on January 5, 2021.
    -   Delta flight number 1411, departing BWI at 11:01 a.m. on January 7, 2021, arriving at
        ATL at 12:55 p.m. on January 7, 2021.
    -   Delta flight number 2123, departing ATL at 1:40 p.m. on January 7, 2021, arriving at
        SEA at 4:05 p.m. on January 7, 2021.
      Based on the foregoing, your affiant submits that there is probable cause to believe that
Matthew Lawrence Stickney violated 18 U.S.C. § 1752(a)(1) and (2), which make it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;

3
 “Boy, that escalated quickly” is a reference from the 2004 film “Anchorman: The Legend of
Ron Burgundy” to a fight that got out of hand, resulting in serious injury and death to some
participants.
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                                   G. Michael       Digitally signed by G.
                                                    Michael Harvey

                                   Harvey           Date: 2023.12.15
                                                    10:54:40 -05'00'
